                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                CENTRAL DIVISION



  UNITED STATES OF AMERICA,
                 Plaintiff,                               No. CR07-3010-MWB
  vs.                                                 ORDER CONCERNING
                                                  MAGISTRATE’S REPORT AND
  ANTHONY HOLLAND,
                                                 RECOMMENDATION REGARDING
                 Defendant.                        DEFENDANT’S GUILTY PLEA
                                   ____________________

                        I. INTRODUCTION AND BACKGROUND
         On February 23, 2007, an indictment was returned against defendant Anthony
Holland charging him with conspiracy to distribute and manufacture 500 grams or more of
methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 846 and 851, and
using a firearm during and in relation to a drug trafficking crime, in violation of 18 U.S.C.
§ 924(c)(1). On August 9, 2007, defendant appeared before Chief United States Magistrate
Judge Paul A. Zoss and entered a plea of guilty to Counts 1 and 2 of the indictment. On
this same date, Judge Zoss filed a Report and Recommendation in which he recommends
that defendant’s guilty plea be accepted. No objections to Judge Zoss’s Report and
Recommendation were filed. The court, therefore, undertakes the necessary review of
Judge Zoss’s recommendation to accept defendant’s plea in this case.


                                       II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of



        Case 3:07-cr-03010-LTS-KEM       Document 94      Filed 08/24/07    Page 1 of 2
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition to
             which specific written objection has been made in accordance
             with this rule. The district judge may accept, reject, or modify
             the recommended decision, receive further evidence, or
             recommit the matter to the magistrate judge with instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss’s findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss’s Report and Recommendation of August 9, 2007,
and accepts defendant’s plea of guilty in this case to Counts 1 and 2 of the indictment.
      IT IS SO ORDERED.
      DATED this 24th day of August, 2007.


                                                __________________________________
                                                MARK W. BENNETT
                                                U. S. DISTRICT COURT JUDGE
                                                NORTHERN DISTRICT OF IOWA




                                            2


     Case 3:07-cr-03010-LTS-KEM        Document 94       Filed 08/24/07    Page 2 of 2
